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 1                        UNITED STATES DISTRICT COURT
 2                       CENTRAL DISTRICT OF CALIFORNIA

 3                                            ****
 4   UNITED STATES OF AMERICA,                )
                                              )
 5                      Plaintiff,            )
 6                                            )   CASE NO. 2:24-CR-00091-ODW
     V.                                       )
 7                                            )
 8   ALEXANDER SMIRNOV,                       )
                                              )
 9                      Defendant,            )   [PROPOSED] ORDER
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11
           Upon reviewing Defendant's Motion in Limine to Preclude the Government
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     from Making Any References to Mr. Smirnov's Lawfully Owned Firearms, and
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14   reviewing the Government's Opposition to that Motion, it is hereby:
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           ORDERED that Defendant's Motion In Limine is GRANTED.
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           The Court orders that the Government shall be precluded from adducing any
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18   evidence or making any reference in the presence of the jury to any aspect of
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     Defendant's lawfully owned firearms. The Court finds that such evidence or
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     references would be irrelevant or, in the alternative, would be of such slight
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22   probative value that its admission or reference would create a substantial risk of
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     III
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 1   unfair prejudice, misleading the issues, or confusing the jury. See Fed. R. Evid. 401,
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     402,403.
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 4         IT IS SO ORDERED.

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 6

 7         DATE                                    HONORABLE OTIS D. WRIGHT II
 8                                                 UNITED STATES DISTRICT nJDGE
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